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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WISCONSIN

PAMELA KILTY, individually and as
Special Administrator of the Estate of
Elvira Kilty, PAUL J. KILTY, DAVID
L. KILTY, WILLIAM J. KILTY and
JAMES S. KILTY,

                                      Plaintiffs,                                     OPINION AND ORDER
         v.
                                                                                              16-cv-515-wmc
WEYERHAEUSER COMPANY, 3M COMPANY,
and METROPOLITAN LIFE INSURANCE
COMPANY,

                                       Defendants.
-----------------------------------------------------------------------------------------------------------------------------
SCOTT SPATZ, individually and as
Special Administrator of the Estate of
Herbert Spatz,


                                      Plaintiff,
         v.
                                                                                              16-cv-726-wmc
WEYERHAEUSER COMPANY, 3M COMPANY,
and METROPOLITAN LIFE INSURANCE
COMPANY,

                                      Defendants.


         Plaintiffs, the estates and family members of two former employees of defendant

Weyerhaeuser Company, assert negligence claims against Weyerhaeuser based on non-

occupational community and household exposure to asbestos fibers emitted from a

Weyerhaeuser manufacturing facility. These two cases are the second wave of asbestos-

related claims asserted against Weyerhaeuser in this court. Pending among other matters

are Weyerhaeuser’s motions for summary judgment and related motions, challenging
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plaintiffs’ evidence of causation, particularly their experts’ testimony. In the first wave of

cases, the court considered virtually the same challenges and established a framework for

considering the reliability of expert testimony, the causation requirement and the necessary

evidence to survive summary judgment. See Boyer v. Weyerhaeuser Co., No. 12-CV-899-

WMC, 2016 WL 705233, at *1 (W.D. Wis. Feb. 19, 2016). The Seventh Circuit Court

of Appeals reviewed and affirmed that decision, albeit criticizing treatment of plaintiff

experts’ opinion testimony as too “deferential.” Pecher v. Owens-Illinois, Inc., 859 F.3d 396,

400 (7th Cir. 2017) (“This admission under Rule 702 seems overly deferential to a highly

dubious theory of harm, but neither this nor the exclusion of the same testimony with

respect to the three plaintiffs on appeal could be considered an abuse of discretion.”).

       With this case law in mind, the court will grant both of defendant’s summary

judgment motions here, finding that even under its more generous view of the admissibility

of expert testimony, plaintiffs have failed to offer sufficient evidence for a reasonable jury

to find that their non-occupational exposure to asbestos constituted a substantial

contributing factor to plaintiffs’ mesothelioma diagnoses. As such, the court will direct

entry of judgment in defendant Weyerhaeuser’s favor. 1




1
 Having granted Weyerhaeuser judgment, its motion to stay proceedings pending an interlocutory
appeal of the court’s decision denying Weyerhaeuser’s motion to dismiss plaintiffs’ claim as barred
by the exclusivity provision of Wisconsin’s Workers Compensation Act is moot, as it its related
motion to file a reply brief in support of the stay and defendant 3M’s motion to join Weyerhaeuser’s
motion to stay. (‘515 dkt. ##284, 288, 289; ‘726 dkt. ##235, 239, 240.)


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                                  PRELIMINARY ISSUES

       Before turning to the merits of Weyerhaeuser’s motions for summary judgment, the

court must first take up a number of preliminary matters.


       A. Appeal of Judge Crocker’s Discovery Order

       First, plaintiffs appeal from a discovery order by Magistrate Judge Crocker, which

(1) denied their motion for leave to depose two witnesses, Richard Luther and Charles

Reno, after the close of discovery, and (2) shifted defendant’s costs in opposing that motion

to plaintiffs as a sanction pursuant to Federal Rule of Civil Procedure 37(a)(5)(B). (3/7/18

Order (‘515 dkt. #199; ‘726 dkt. #151); 3/22/18 Order (‘515 dkt. #249; ‘726 dkt. #204);

Pls.’ Rule 72 Objs. (‘515 dkt. #242; ‘726 dkt. #200).) In their respective Rule 26(a)(1)

disclosures, served on October 31, 2017, plaintiffs disclosed as a category of witnesses

“Weyerhaeuser Site Workers,” indicating they may have discovery information on a variety

of topics. (Kilty’s Rule 26(a)(1) Disclosures (‘515 dkt. #59) ¶ A.7; Spatz’s Rule 26(a)(1)

Disclosures (‘726 dkt. #48) ¶ A.7.) At the time, plaintiffs also attached as Exhibit A a list

of 118 such witnesses, including Luther and Reno. (Id. at Ex. A.)

       Defendants did not object to this initial disclosure, but as far as the court can discern

from the parties’ submissions, that was in reliance on plaintiffs’ counsel following the usual

practice in other asbestos cases of winnowing down similar lists by noticing certain

witnesses for deposition. However, on December 21, 2017, counsel for Weyerhaeuser

docketed a letter to Judge Crocker apprising him of a discovery dispute concerning

plaintiffs’ counsel’s unwillingness to name site workers that they intended to notice for

depositions. At its crux, counsel for Weyerhaeuser complained that plaintiffs were insisting

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that defendants provide possible dates for depositions before plaintiffs would designate

approximately 15 Site Workers for depositions. 2 In response to counsel’s letter, Judge

Crocker first reprimanded Weyerhaeuser’s counsel for submitting a letter, rather than a

motion, but nonetheless entered an order on December 22, 2017, advising “if a party has

specific witnesses in mind to depose but fails or refuses promptly to identify those witnesses

to opposing counsel as required under Rule 26(a)(1)(A)(i) or in response to opposing

counsel’s request, then that party has violated the preliminary pretrial conference order

and is subject to sanctions under Rule 37(b).” (12/22/17 Order (dkt. #77).) Despite this

admonition, plaintiffs still failed to provide defendants with names of site workers for

deposition.

         In January, Weyerhaeuser provided dates for early February, affirmatively noticing

itself five site workers for depositions, with 3M adding six more. On February 6, 2018,

during one of those depositions, plaintiffs’ counsel indicated that “there are additional

depositions that are going to have to be scheduled in Marshfield . . . . I have co-workers

that I need to call.”     (Koepke Depo. (dkt. #148) 160-61.)             Weyerhaeuser’s counsel

reminded plaintiffs of Judge Crocker’s order and preserved its objections. (Id. at 160-61,

192.)




2
  Plaintiffs concede as much in their appeal to this court, representing that “[t]he practice usually
followed in the Marshfield cases is to agree to dates for coworker depositions in advance . . . [and
o]nce dates are agreed upon, the persons to be deposed are determined and notices issued.” (Pls.’
Rule 72 Objs. (dkt. #242) 5.) Unless otherwise noted, all references to the docket are to Case No.
16-cv-515.


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       On February 16, 2018, the deadline for the parties to file summary judgment

motions, plaintiffs first noticed Luther’s deposition for February 28, 2018, which was the

date for the close of discovery in this case. On February 22, 2018, plaintiffs’ counsel

informed defendants that it also intended to depose Charles Reno that same day. Plaintiffs

represent that health issues with both deponents, however, prevented either depositions

from actually going forward on February 28. As a result, plaintiffs filed a motion for leave

to take the depositions of both after the close of discovery. In their motion, they argued

that since both were properly disclosed in their October 31, 2017, Rule 26 initial

disclosures, albeit as one of 181 site workers, and that their February 16, 2018, notice of

Luther and February 22, 2018, email regarding Reno were timely, they did not violate the

court’s December 22, 2017, order, particularly since both were identified as soon as

plaintiffs had a “specific witness in mind to depose.” (Pls.’ Mot. (dkt. #192) 6-7.)

       On March 7, Judge Crocker denied plaintiffs’ motion, concluding that “[p]laintiffs

did not properly disclose the identities of these two witnesses to defendant in a fair, timely

or useable fashion, [and] then plaintiffs waited until the last minute to attempt to squeeze

in these depositions. This violates the preliminary pretrial conference order in each case

and violates this court’s December 22, 2017 text-only order.” (3/7/18 Order (dkt. #199).)

The court also sanctioned plaintiffs pursuant to Rule 37, directing defendants to submit

their itemized statements of fees and costs, subsequently concluding that the requested

amounts were reasonable and plaintiffs’ motions were not substantially justified. Judge

Crocker stayed the actual payment of those costs until after this court ruled on the present

Rule 72 objections. (Id.; 3/22/18 Order (dkt. #249).)


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       This court will now affirm Judge Crocker’s order denying plaintiffs’ motion for leave

to take depositions after the close of discovery, but will vacate the part of his order

sanctioning plaintiffs, finding that plaintiffs did not clearly disobey the letter of the court’s

preliminary pretrial conference order nor Judge Crocker’s December 22, 2017, order.

While the court finds that Luther and Reno were included in plaintiffs’ initial disclosures,

plaintiffs broad categories of discovery topics for which these 181 site workers may have

information is unworkable. However, defendants did not object to this initial disclosure.

Instead, defendants focused their efforts on pushing for a narrowed list of site workers to

be deposed; and when plaintiffs failed to identify any site workers in a timely fashion,

defendant brought their concerns to Judge Crocker in a December 21 letter.                In his

December 22 order, Judge Crocker then expressly instructed plaintiffs to identify promptly

witnesses for depositions once they had “specific witnesses in mind to depose.”

       For whatever reason, whether gamesmanship as defendants contend or simple

inattention, plaintiffs gambled on delaying until the last minute, naming two witnesses

near the close of discovery, and leaving no wiggle room to ensure that the depositions

would be completed before the end of discovery. This gamble did not pay off. Plaintiffs

were warned, told to act diligently, and as is typical for plaintiffs’ counsel in these cases,

failed to do so. Judge Crocker rightly chose not to bail plaintiffs’ counsel out and neither

will this court if for no other reason than to deter such gamesmanship or lack of diligence

in the future.

       Still, the question remains whether plaintiffs’ failure to act sooner violated a prior

order of this court and warranted a sanction under Federal Rule of Civil Procedure


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37(b)(2)(A). Certainly, plaintiffs flouted the spirit of Judge Crocker’s December 22nd order

if not the letter, but the express language of the order required plaintiffs to disclose specific

witness when they had them “in mind to depose.” (3/7/18 Order (dkt. #199).) This order

is sufficiently ambiguous to foreclose a finding that plaintiffs disobeyed a court order.

Instead, the appropriate “sanction” is to deny plaintiffs’ request to extend the discovery

deadline with respect to these two late-noticed depositions.

       This leaves one final issue unanswered. Weyerhaeuser construes Judge Crocker’s

March 7, 2018, order denying plaintiffs leave to depose Luther and Reno as excluding them

as witnesses, and thus urges the court to strike their declarations submitted in opposition

to summary judgment. (See Weyerhaeuser’s Mot. to Strike (dkt. #256) 5-15.) Since the

March 7 order does not expressly address this issue and defendants themselves did not

object to plaintiffs’ Rule 26(a)(3) disclosure of 181 site workers, and instead simply

challenged plaintiffs’ failure to identify timely witnesses for depositions, striking Luther’s

and Reno’s declarations all together, much less their testimony at trial (were they able to

be subpoenaed or willing to appear voluntarily) seems overly harsh, unless there were

evidence that plaintiffs have actually had them “in mind to depose” or to call at trial well

before they were named. For reasons explained more fully below, however, the court need

not pursue such evidence, since the declarations do not substantially aid plaintiffs’ ability

to demonstrate a causal link between plaintiffs’ alleged non-occupational exposure to

asbestos and their respective mesothelioma diagnoses. As such, while the court considered

the declarations, they ultimately do not preclude summary judgment in defendant’s favor,

mooting any need to exclude their testimony.


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       B. Weyerhaeuser’s Motion to Exclude Evidence

         i.   Schiller Deposition

       Weyerhaeuser next seeks to strike the deposition of Elwood Schiller, which was

taken in another proceeding in which Weyerhaeuser was not a party.              As the court

explained in the Boyer summary judgment opinion, the Schiller deposition does not fit

within the contours of Federal Rule of Evidence 804(b) and therefore constitutes hearsay.

Boyer, 2016 WL 705233, at *4. The court sees no reason to reconsider this ruling on the

facts here, and therefore will exclude the Schiller deposition as inadmissible hearsay.

        ii.   Anderson Affidavits

       Defendant Weyerhaeuser also seeks to exclude two affidavits executed by plaintiffs’

expert, Dr. Henry Anderson, in 2010 and 2011 in what defendant describes as “other,

unrelated cases.” (Def.’s Mot. to Strike (dkt. #256) 3.) These affidavits were filed in the

first wave of Weyerhaeuser asbestos cases, and cited by Anderson in the reports specific to

these two cases. (See Pl.’s Opp’n (dkt. #275) 3.) The court sees no basis to strike them

from consideration on summary judgment and will not do so.

       iii.   D.B. Allen Memo

       Finally, touching on another familiar topic, Weyerhaeuser seeks to exclude the “D.

B. Allen memorandum.” The court will deny this motion, for the reasons described in

earlier opinions, finding that plaintiffs’ laid a sufficient foundation to authenticate Allen’s

memorandum through his deposition testimony. (See Pls.’ Opp’n (dkt. #275) 33-34.) The

court, however, will limit Allen’s use of the memorandum, disregarding as hearsay the truth

of any statements as to what members of the community reported.



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                                   UNDISPUTED FACTS 3

       A. Background

       Plaintiff Weyerhaeuser acquired a manufacturing facility located in Marshfield,

Wisconsin, from Roddis in 1960 and sold it in 2000. 4                  The Marshfield facility

manufactured wood products with multiple operations and divisions on site, including a

dry kiln, particleboard plant, molded products plant, warehouse, a door factory mill, and a

mineral core plant. Beginning in 1968, Weyerhaeuser manufactured a door “core” that

contained asbestos in the mineral core plant, which was a stand-alone building in the

Marshfield facility. By 1971, production in the mineral core plant was at full capacity,

producing approximately 5500 cores per week, all containing asbestos. Weyerhaeuser

stopped using asbestos in June 1978.

       Before 1968, Weyerhaeuser also used asbestos products, but had not manufactured

or otherwise used it in a raw form in its products until then. Asbestos cores used in the

manufacture of fireproof doors were purchased before 1968 from outside vendors. For

example, from 1954 to 1956, Weyerhaeuser manufactured a fireproof door using an

“asbestocore material.”     (Def.’s PFOFs (dkt. #258) ¶ 28.)           Beginning in 1959 and

continuing to 1972, Weyerhaeuser also manufactured a fireproof door with a preformed,

asbestos-containing core called “Kaylo.”




3
  For the purposes of deciding the present motion, unless otherwise noted, the court finds the
following facts undisputed and material.

4
 For ease of reference, the court also uses “Weyerhaeuser” to refer to the entity that historically
operated and manufactured products containing asbestos at the Marshfield plant.


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       As for the layout of the site, the door factory mill or plant, was a multistory building

that contained various operations. In the basement was a veneer dry clipping area; the first

floor included the veneer mill on the south end and the core mill was on the north end,

which is where the doors were first assembled. Before 1968, when the asbestos cores began

to be manufactured onsite, all processing of the third-party purchased cores occurred in

the core mill at the south end, including sawing, grooving and sanding. On the second

floor of the door mill was the glue room, saw and sand area, and door inspection site. On

the third floor, the veneer “flitches” were spliced. There was no cutting or sanding of the

asbestos mineral core on either the second or third floors. Finally, although the parties do

not identify its location, the plant also contained a detail department, which machined the

windows, hinges, locks and other openings and added moldings.


       B. Plaintiffs

         i.   Elvira Kilty

       Elvira Kilty worked at the Weyerhaeuser plant between 1955 and 1995. Kilty was

diagnosed with mesothelioma on July 16, 2015, and died on September 1, 2015. Plaintiffs

are decedent’s living children, and their claims arise from decedent’s mesothelioma

diagnosis and death. Because they would otherwise be barred by Wisconsin Workers

Compensation law, plaintiffs’ negligence claim is premised on household and community

exposure. Plaintiffs’ household exposure claim is based on Kilty’s exposure to the work




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clothes of her four sons, all of whom also worked at the Weyerhaeuser plant. 5 In particular,

while her children were still living at home, Kilty washed their dirty work clothes.

       Kilty’s son Gary, now deceased, started working at the plant after graduation from

high school in May or June of 1966. He married on August 27, 1966, and moved out of

the family home at or around that time. As such, he lived at home for approximately three

months while working at Weyerhaeuser. None of Gary’s brothers had personal knowledge

of his work there, although another employee, William Haeni, testified that Gary worked

in the detail department installing molding. On the other hand, Charles Reno provided a

declaration averring that Gary Kilty worked in the maintenance department, and during

that time, his clothing and person would come into contact with the mineral core dust. 6

       Kilty’s son William worked at the Weyerhaeuser facility on two occasions: (1) after

graduating from high school in May 1967 until 1969, when he entered the military; and

(2) from May to August 1971. Because William married straight out of high school in

May 1967 and moved out of the family home at that time, none of his work at the

Marshfield facility appears to have overlapped with his time residing in the family home.

William also testified that he did not work with asbestos mineral core during his

employment. Instead, he worked with wood, and his clothing was dusty from wood dust.




5
  In their response to defendant’s proposed findings of facts, plaintiffs assert state that Kilty was
exposed to asbestos “in family member vehicles, at the residences of the children of Elvira Kilty,
and other settings where the children or their clothing were with Elvira Kilty.” (Pls.’ Resp. to Def.’s
PFOFs (‘515 dkt. #210) ¶ 23.) Plaintiffs, however, cite no support for this statement. As such, the
court has not considered it.

6
 Haeni did not know the exact dates of Gary’s assignment to the detail department, nor was Reno
able to provide dates for Kilty’s work in the maintenance department.

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       Kilty’s son Dave worked nights at the Marshfield plant for two to three months in

1969 while still in high school and living at home. During that time, however, Dave did

not work in the mineral core area; rather, he worked in the shipping department, loading

finished doors and materials into boxcars. During his deposition, Dave testified that the

dust in the shipping department came from sawing wood.

       Finally, Kilty’s son James worked at the plant from between June 3 and August 5,

1977. While in high school and living at home, James testified that he worked exclusively

with wood and did not work with asbestos. James worked on the chop line cutting chunks

of solid wood for the wood core door and in the kiln drying area if help was needed.

       As for Kilty’s community exposure, this claim is based on her residing at 703 South

Peach Street in Marshfield from 1955 to 1962, which is located approximately 0.5 miles

from the Weyerhaeuser facility. 7 Other than from 1955 to 1962, however, Kilty lived

outside of the City of Marshfield, and as described above, the mineral core plant did not

open until 1968, six years after Kilty moved out of her South Peach Street residence.

Moreover, plaintiffs offer no evidence of the presence of asbestos fibers at Kilty’s residence,

instead directing the court to representations by other residents in homes in similar

proximity to the plant of off-white dust covering laundry, windows and window sills. (Pls.’

Add’l PFOFs (dkt. #209) ¶¶ 87-93.) In response, defendant points out: (1) the lack of

evidence that this dust was mineral core dust, rather than some other light-colored dust




7
 This court previously determined that a 1.25-mile range of asbestos manufacturing could result in
a significant exposure in light of studies of community exposure to asbestos fibers. See Boyer, 2016
WL 705233, at *19 (describing “zone of risk”).

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(e.g., from wood or a nearby cement company); and (2) some witnesses testified that the

dust was sometimes black. (Def.’s Resp. to Pl.’s PFOFs (dkt. #259) ¶¶ 87-93.)

         In contrast, Kilty was unquestionably exposed to asbestos during her employment

at the Marshfield plant.       Indeed, during her employment, Kilty worked directly with

asbestos-containing door cores and was part of Weyerhaeuser’s asbestos medical

surveillance program. 8        As a result, plaintiff’s experts acknowledged that Kilty’s

occupational exposure was substantially more than her non-occupational exposure and

would have been sufficient to account for her mesothelioma diagnosis. (Def.’s PFOFs (dkt.

#173) ¶¶ 48-50.)

           ii.   Herbert Spatz

         Herbert Spatz worked at Weyerhaeuser beginning in 1962 until his requirement in

2001, including 11 years in the mineral core mill. Spatz was diagnosed with mesothelioma

on October 28, 2015, and died on January 5, 2016. Plaintiff Scott Spatz is Herbert’s

nephew, who asserts survival and wrongful death claims.

         Herbert Spatz’s assertion of non-occupational exposure is limited to asbestos fibers

from his father Joey Spatz’s work clothes. 9 Between 1942 to 1958, Herbert Spatz lived

with his family, including his father Joey Spatz, in a railroad boxcar, consisting of a

bedroom and kitchen, with no bathroom or running water.                 His father worked at

Weyerhaeuser as a utility person in the 1950s until at least “two years after mineral core


8
 While the parties do not provide specifics as to Weyerhaeuser’s medical surveillance program, it
appears, at a minimum, to have involved annual medical check-ups, including a chest x-ray.
(Pamela Kilty Depo. (dkt. #112) 58.)

9
    Unlike Kilty, Spatz does not assert a community exposure claim.


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door production began.” (Pl.’s Add’l PFOFs (‘726 dkt. #158) ¶ 118.) In his declaration,

Richard Luther averred that he “saw Joey Spatz cleaning up the debris and dust from the

core mill areas where the door production, including mineral core doors, occurred. I also

saw him in other places in the core mill department.” (Luther Decl. (dkt. #230) ¶ 13.)

Herbert’s sister and Joey’s daughter, Caroline, testified that Joey wore his work clothes

home from work, and those clothes were laundered by hand inside the home on a

washboard, though Herbert did not launder his father’s clothes.

       As with Kilty, Spatz was occupationally exposed to asbestos during his employment

at the Marshfield plant, and there is no dispute that this exposure substantially contributed

to his mesothelioma diagnosis.


       C. Evidence of Asbestos Emissions

       Within the plant, plaintiffs contend that asbestos was not contained within the core

mill area, but spread to other parts of the plant through open stairways and elevator shaft

openings. (Pls.’ Add’l PFOFs (dkt. #209) ¶¶ 16-20.) Although defendant challenges the

timing, extent of contamination, and whether the dust (or at least all of the dust) was

actually asbestos dust, former employees testified that the asbestos core materials were

present on employees’ clothing and machines extending beyond the core mill area.

       Principally relying on the D.B. Allen memo discussed above, as well as accounts

from employees, plaintiffs put forth evidence, of asbestos dust being released from the

plant into the parking lot and on yards surrounding the plant, as well as into the

community. Specifically, former employees testified that the baghouses the plant used to

collect dust, including mineral core dust, frequently became plugged, resulting in dust

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“shoot[ing] up like a geyser.” (Id. at ¶¶ 55-66.) In response, defendant points out that

testimony of baghouses routinely becoming clogged and asbestos fibers being emitted into

the community concern observations from the 1970s, post-dating the relevant community

exposure period here. (See, e.g., Def.’s Resp. to Pls.’ Add’l PFOFs (dkt. #259) ¶ 57.)

Plaintiffs point to disposal of asbestos dust in landfills and ponds as another avenue for

community exposure. However, plaintiffs’ evidence of community exposure from disposal

of asbestos dusts in landfills is also limited to the early 1970s. (See, e.g., Pls.’ Add’l PFOFs

(dkt. #209) ¶ 71 (citing letter dated May 18, 1973); Def.’s Resp. to Pls.’ Add’l PFOFs

(dkt. #259) ¶ 70 (noting that one employee (Gennett) did not start driving waste trucks

until 1973 and that another employee (Reno) testified that he drove the truck after

Gennett started hauling waste).)

       In addition to challenging plaintiffs’ evidence as to timing, defendant points out

that there were other sources of dust in the community. Almost every Weyerhaeuser

department had machinery that generated waste or dust -- in particular, a large quantity of

wood dust. Moreover, dust came from smokestacks from boilers that burned materials

including coal, and the baghouses collected dust from the particleboard plant and from the

finishing plant. There were also dirt and gravel roads around the plant, along with a cement

plant in Marshfield that generated dust, which defendant represents is similar in color to

mineral core dust containing asbestos.




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                                          OPINION 10

       In an earlier opinion and order on similar community and household asbestos

exposure claims asserted against defendant Weyerhaeuser, this court: (1) considered a

Daubert challenge to the same experts on which plaintiffs rely here; (2) set forth the law

governing plaintiffs’ claims, including their obligation to prove causation; and (3) evaluated

the plaintiffs’ evidence, including the expert testimony, in light of that legal standard. See

Boyer v. Weyerhaeuser Co., No. 12-CV-899-WMC, 2016 WL 705233 (W.D. Wis. Feb. 19,

2016), aff’d Pecher v. Owens-Illinois, Inc., 859 F.3d 396 (7th Cir. 2017). As was true in the

first wave of asbestos cases, the plaintiffs’ claims here rise or fall depending on their ability

to marshal sufficient evidence that non-occupational asbestos exposure was a substantial

contributing factor to their mesothelioma diagnoses for a reasonable jury to find the

causation element satisfied. In these cases, however, plaintiffs’ evidence falls short.

       As set forth in great detail in the Boyer summary judgment opinion, to prove

causation, plaintiffs “need not demonstrate non-occupational exposures were the sole cause,

the main cause, or even the most likely cause of their disease.” 2016 WL 705233 at *17.

Rather, plaintiffs must demonstrate that the non-occupational exposures were “a

substantial factor” in producing their respective asbestos-related injuries.          Id.; see also




10
   In its opinion and order on Weyerhaeuser’s motion to dismiss, issued after Weyerhaeuser’s filing
of its motion for summary judgment, the court rejected Weyerhaeuser’s argument that plaintiffs’
claims are barred by Wisconsin’s Workers Compensation Act’s exclusivity provision, while agreeing
that plaintiffs’ nuisance claims are barred by the applicable statute of limitations, granting that
aspect of the motion. (4/17/18 Op. & Order (dkt. #279).) As such, the court will not revisit either
argument.


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Physicians Plus Ins. Corp. v. Midwest Mut. Ins. Co., 2001 WI App 148, ¶ 59, 246 Wis. 2d

933, 632 N.W.2d 59.

       A “substantial factor” or “substantial contributing factor” means something more

than a possible cause. As the Sixth Circuit explained in Lindstrom v. A-C Prod. Liab. Trust,

424 F.3d 488 (6th Cir. 2005), “where a plaintiff relies on proof of exposure to establish

that a product was a substantial factor in causing injury, the plaintiff must show a high

enough level of exposure that an inference that the asbestos was a substantial factor in the

injury is more than conjectural.” Id. at 492

       In Tragarz v. Keene Corp., 980 F.2d 411 (7th Cir. 1992), the Seventh Circuit

emphasized this is not a comparative test, explaining that “courts in applying the

substantial factor test do not seem concerned with which of the many contributing causes

are most substantial. Rather, they seem concerned with whether each contributing cause,

standing alone, is a substantial factor in causing the alleged injury.” Id. at 424; see also

Schultz v. Akzo Nobel Paints, LLC, 721 F.3d 426, 433 (7th Cir. 2013) (“[T]o show that a

toxin is ‘a cause’ or ‘a substantial factor,’ [plaintiff] was not required to demonstrate that

benzene exposure was the sole cause of his disease, so long as he showed that benzene

contributed substantially to the disease’s development or significantly increased his risk of

developing AML.”). Accordingly, the court is to consider “the frequency, regularity, and

proximity of exposure in determining whether the injured party’s exposure to defendants’

asbestos products was a substantial factor in causing the alleged injury.” Tragarz, 980 F.2d

at 420.




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       Despite the issue of causation being a centerpiece of defendant’s motion for

summary judgment and plaintiffs having the burden of proof, they spend a little more than

a page in each of their opposition briefs responding to this argument, the bulk of which

amounts to broad, general references to their experts’ testimony. Moreover, plaintiffs

utterly fail to engage with defendant’s specific arguments challenging plaintiffs’ proof of

non-occupational exposure in these two cases, which is reflected in the dearth of facts

supporting a finding of non-occupational exposure set forth above. As a result, defendant

argues in its reply brief that this court should find waiver. While perhaps warranted, the

court nonetheless has reviewed the expert reports and considered whether plaintiffs’

evidence provides a reasonable basis for their experts’ conclusions. It does not. 11


I. Kilty’s Evidence of Causation

       As detailed above, Kilty claims household exposure based on her sons’ work at

Weyerhaeuser and their living at home for various periods of time during their

employment, during which she would have laundered their clothing. Ignoring that at least

one of the boys was not even living at home, and two others were there for a few months,

three of Kilty’s four sons did not even work in the mineral core mill, and there is no

evidence that they were exposed occupationally to asbestos directly as part of this work.

In fairness, there appears to be some contradictory information in this regard as to Gary’s


11
  Instead of filing a separate Daubert motion with its motion for summary judgment, defendant
challenges the expert testimony in the motions themselves, making that testimony subject to the
same analysis as the court’s prior opinion and order in Boyer. The defendant did subsequently file
a motion in limine to exclude plaintiffs’ expert testimony at trial. Given its characterization as a
motion in limine, and in light of the fact that the motion was filed after the summary judgment
deadline, however, the court set briefing consistently, which means that those Daubert motions are
not yet under advisement and, for the reasons that follow, are now moot.

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son Gary, who is now deceased. One former Weyerhaeuser worker placed him in the detail

department, installing molding, while another employee averred that Gary worked in the

maintenance department and during that time would have come into contact with mineral

core dust. Neither former employee, however, provides dates for Kilty’s work in those

departments, which is critical since Gary only lived at home for a brief period of

approximately three months while working at Weyerhaeuser, and his employment with

Weyerhaeuser extended well beyond that period. 12              Moreover, plaintiffs provide no

evidence that even Gary spent a significant portion of his time in the maintenance

department working in areas that would have exposed him directly to asbestos fibers, nor

that Gary’s work in the detail department, installing molding, exposed him to asbestos

directly.

       Absent such evidence, the court finds that plaintiffs lack sufficient evidence for an

expert to rely on a family member’s occupational exposure to opine reliably that Kilty

suffered a history of significant household exposure. See Boyer, 2016 WL 705233, at *20-

21 (discussing plaintiff Masephol’s evidence and specifically rejecting a household exposure

claim based on father’s work in the maintenance department “without any direct evidence

that his father worked in the mineral core department”, and plaintiff Jacobs’ lack of

evidence of the length of exposure from her daughter’s brief work in the mineral core mill).




12
  Plaintiffs’ expert Frank Parker erroneously relied on Gary living in the family home for two years
while employed at Weyerhaeuser, providing another basis for rejecting plaintiffs’ expert testimony
and, in turn, their evidence of causation. (See Parker Rept. (dkt. #182) 6.)


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       Kilty also pursues a community exposure claim based on having lived at a house

within 1.25 miles of the plant, which this court found in Boyer was sufficient to survive

summary judgment if residing within 1.25 miles of the plant for at least one year. See id.

at *21. 13 In the three claims that survived summary judgment in Boyer, however, the

plaintiffs resided in homes after 1968, when Weyerhaeuser opened the mineral core mill

and was manufacturing raw asbestos and door cores containing asbestos on site. Here,

however, Kilty only lived within 1.25 mile radius before 1968, from 1955 to 1962. In their

brief in support, defendant describes in great detail the significance of this date range,

specifically pointing to: (1) Frank Parker’s admissions that he did not know production

levels or the amount of asbestos used at the plant before 1960; (2) anecdotal evidence from

other co-workers about asbestos emissions into the community that largely post-dated the

opening of the mineral core mill in 1968; and (3) Dr. Anderson’s admissions as plaintiffs’

expert that he was unaware of any studies of community exposure involving plants that

did not use raw asbestos fibers. (See Def.’s Opening Br. (dkt. #172) 35-36; Def.’s Reply

(dkt. #257) 9-10; Def.’s PFOFs (dkt. #173) ¶¶ 100, 109, 129.)

       Tellingly, plaintiffs did not even allude to this argument in their opposition brief,

much less direct the court to evidence or develop an argument supporting their experts’

testimony of a community exposure claim predating 1968.              Because plaintiffs’ sparse

evidence is woefully insufficient to support an expert opinion that Kilty’s claimed




13
   In reviewing the expert reports, it appears that they rely on the same studies, which supported
the court’s prior determination of a 1.25 mile “zone of risk” radius. See Boyer, 2016 WL 705233,
at *19 (describing “zone of risk”).


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community exposure was a substantial contributing factor to her mesothelioma diagnosis,

the court will grant defendant’s motion for summary judgment on Kilty’s negligence claim,

finding insufficient evidence to support the opinions of experts Parker and Anderson of a

significant, non-occupational exposure, a necessary predicate to a reasonable jury finding

this exposure was a substantial contributing factor to plaintiffs’ contacting mesothelioma.


II. Spatz’s Evidence of Causation

       Spatz’s evidence of a household exposure as a substantial contributing factor to his

mesothelioma diagnosis suffers from the same defect at Kilty’s. As an initial matter, there

is no evidence that his father, Joey Spatz, was sufficiently exposed to asbestos to act as a

predicate for a significant household exposure for Herbert Spatz. See Boyer, 2016 WL

705233, at *21 (discussing similar problems in plaintiffs Jacobs’ and Masephol’s evidence).

While plaintiff offers vague statements from a former employee, Richard Luther, that he

saw Joey, a “utility” employee, working in the mineral core area, there is no reference to

the length of that assignment. Moreover, that assignment was during a period of time, the

mid 1950s, when Weyerhaeuser’s use of asbestos cores in door production was in its early

stages, before Weyerhaeuser began working with raw asbestos to produce its own door

cores. Plaintiff admits that his expert Frank Parker has no data on the production levels of

the Marshfield plant during this time nor on the extent asbestos door cores were being

used. (Pl.’s Resp. to Def.’s PFOFs (‘726 dkt. #211) ¶¶ 71-73.) Finally, Joey’s alleged

exposure occurred well before the opening of the mineral core mill and Weyerhaeuser’s

manufacturing of the asbestos door cores onsite.




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       Even assuming Joey was exposed to asbestos in the workplace, plaintiff offers no

evidence that Herbert was sufficiently exposed by his father’s work clothes in his home to

form a reliable basis for an expert to opine, or for a reasonable jury to conclude, that this

exposure was a substantial contributing factor to his mesothelioma diagnosis. Notably, for

example, Herbert was not the one who laundered his father’s clothing, which some

academic studies at least suggest as a vehicle for exposing household members to asbestos.

See Boyer, 2016 WL 705233, at *13 (describing Parker’s reliance on studies, including those

of “housewives developing asbestos-related diseases from handling clothing and other items

that has asbestos fibers on it”). Here, too, plaintiff offers no response to defendant’s

argument in its opening brief that plaintiff lacks evidence of household exposure -- even

assuming his father suffered significant occupational exposures -- to support a causation

finding. In response to defendant’s proposed findings of facts, plaintiff simply admits that

Herbert did not handle his father’s laundry, but states, with no support, “laundry is not the

only form of household exposure.” (Pl.’s Resp. to Def.’s PFOFs (‘726 dkt. #211) ¶ 52.)

While this is undoubtedly true, since it is scientifically possible that even a scintilla of

exposure to asbestos fibers may cause mesothelioma, this mere possibility is not enough to

prove causation. See Boyer, 2016 WL 705233, at *22 (“This is not to say that the science

precludes the experts’ opinion that even a small, single exposure may ‘contribute’ to the

contracting of mesothelioma, only that the science does not support a legal finding that

only small and occasional, non-occupational exposure would substantially contribute to

contracting mesothelioma.”).




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       Plaintiff’s experts’ opinions are similarly unsupported. Dr. Anderson and Frank

Parker were provided unsupported hypotheticals, including that they should assume that

Joey worked in the core mill for three months in 1954. Plaintiff admits this, but responds,

“Dr. Anderson’s opinions at trial will be based on the evidence presented at that time, and

the hypotheticals are only for demonstrative purposes.” (See, e.g., Pl.’s Resp. to Def.’s

PFOFs (‘726 dkt. #211) ¶ 59 (discussing Anderson’s testimony; see id., at ¶ 70 (discussing

Parker’s testimony).) That is not how summary judgment works. Defendant having

thrown down the gauntlet as to a lack of proof of causation, plaintiff cannot wait until the

record is developed at trial to provide grounded, reliable expert opinions. As the Seventh

Circuit observed almost twenty years ago, and this court has oft repeated since, “summary

judgment is ‘not a dress rehearsal or practice run,’ but the ‘put up or shut up moment’ in

which a proponent of facts must show what evidence it has to convince a trier of fact to

accept its version of events.” Nichols v. Nat’l Union Fire Ins. Co. of Pittsburgh, PA, 509 F.

Supp. 2d 752, 760 (W.D. Wis. 2007) (quoting Schacht v. Wis. Dep’t of Corr., 175 F.3d 497,

504 (7th Cir. 1999)). 14

       As such, the court will grant defendant’s motion for summary judgment on Spatz’s

negligence claim, finding insufficient evidence to support plaintiff’s experts Parker and

Anderson’s assumption of a significant non-occupational exposure as a necessary predicate




14
   Even putting aside this burden, plaintiffs’ argument that it can wait until trial to show its hand
flies in the face of the requirements under Federal Rule of Civil Procedure 26(a)(2).


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to their opinion that plaintiff’s household asbestos exposure was a substantial contributing

factor to his diagnosis of mesothelioma. 15



                                             ORDER

       IT IS ORDERED that:

       1) Defendant Weyerhaeuser Company’s motions for summary judgment (‘515 dkt.
          #171; ‘726 dkt. 125) are GRANTED.

       2) Plaintiffs’ Rule 72 objections to the Magistrate Judge’s Order of March 7, 2018
          (‘515 dkt. #242; ‘726 dkt. #200) are GRANTED IN PART AND DENIED IN
          PART as described above.

       3) Defendant Weyerhaeuser Company’s motions in limine to exclude plaintiffs’
          expert witnesses (‘515 dkt. #251; ‘726 dkt. #198) are DENIED AS MOOT.

       4) Defendant Weyerhaeuser Company’s motions to strike plaintiffs’ improper
          summary judgment evidence (‘515 dkt. #256; ‘726 dkt. #209) are GRANTED
          IN PART AND DENIED IN PART as described above.

       5) Defendant Weyerhaeuser’s motion for stay (‘515 dkt. #284; ‘726 dkt. #235),
          Weyerhaeuser’s motion to file reply in support of motion to stay (‘515 dkt.
          #289; ‘726 dkt. #239) and defendant 3M Company’s motion to join in motion
          to stay (‘515 dkt. #289; ‘726 dkt. #240) are all DENIED AS MOOT.




15
  In light of the court’s decision to grant summary judgment to defendant Weyerhaeuser based on
the lack of reliable evidence of causation, the court need not consider its argument that the risk of
non-occupational exposure was not known at the time of decedents’ alleged community exposure
or the lack of availability of punitive damages if plaintiffs could prove liability. One final note
regarding the practice of counsel for plaintiffs to file Rule 59 motions for reconsideration when the
outcome of an opinion is unfavorable to their clients. Before reflexively doing so here, plaintiffs’
counsel should review the standard for such a motion. Notably, it does not cover arguments a party
simply failed to make in their initial briefing.


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 6) Upon resolution of plaintiffs’ remaining claims against defendant 3M Company,
    the clerk of court is directed to enter judgment in defendant Weyerhaeuser’s
    favor in both of the above-captioned cases.

 Entered this 8th day of June, 2018.

                                   BY THE COURT:


                                   /s/
                                   __________________________________
                                   WILLIAM M. CONLEY
                                   District Judge




                                       25
